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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SAMMIA PRATT, et al.,                     )
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )                  Case No. 1:20-cv-1501-TNM
                                          )
MIGUEL CARDONA, Secretary of the          )
United Department of Education, et al.,   )
                                          )
       Defendants.                        )
__________________________________________)

                                   JOINT STATUS REPORT

       Pursuant to this Court’s Minute Order of March 18, 2021, the parties hereby submit this

joint status report. In this action, Plaintiffs challenge the Department of Education’s December

2019 methodology for calculating partial relief for borrowers who have been found to have been

defrauded by higher education institutions, and its application to a class of borrowers. See Am.

Compl. (ECF No. 16). In their request for relief, Plaintiffs ask this Court to vacate the 2019

methodology and relief determinations based upon it. Id. As Defendants indicated in the last joint

status report, on the day of that filing, “Defendants announced substantial changes to the policy at

issue in this case.” See ECF No. 24. In particular, in a public press release, the Department of

Education stated that “the Department will ensure that borrowers with approved borrower defense

claims to date will have a streamlined path to receiving full loan discharges” and that “this new

approach replaces a methodology first announced in December 2019.” See Department of

Education Announces Action to Streamline Borrower Defense Relief Process, available at

https://www.ed.gov/news/press-releases/department-education-announces-action-streamline-

borrower-defense-relief-process.
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       The Department expects the process for discharging the loans in full will take

approximately six months. The parties ask to file another status report on or before July 19, 2021,

to update the Court and assess whether litigation should proceed further in this matter.



Dated: April 19, 2021                        Respectfully submitted,


                                             /s/ Adina Rosenbaum
                                             Adina H. Rosenbaum (D.C. Bar No. 490928)
                                             Adam R. Pulver (D.C. Bar No. 1020475)
                                             PUBLIC CITIZEN LITIGATION GROUP
                                             1600 20th St. NW
                                             Washington, DC 20009
                                             (202) 588-1000
                                             arosenbaum@citizen.org

                                             Michael N. Turi (New York Bar No. 5385745)
                                             Pro hac vice
                                             Eileen M. Connor (Mass. BBO No. 569184)
                                             (application for admission forthcoming)
                                             Toby R. Merrill (Mass. BBO No. 601071)
                                             PROJECT ON PREDATORY STUDENT
                                             LENDING,
                                             LEGAL SERVICES CENTER OF HARVARD
                                             LAW SCHOOL
                                             122 Boylston Street
                                             Jamaica Plain, MA 02130
                                             (617) 522-3003
                                             mturi@law.harvard.edu

                                                     Counsel for Plaintiffs and the Class


                                             BRIAN M. BOYTON
                                             Acting Assistant Attorney General

                                             MARCIA BERMAN
                                             Assistant Branch Director

                                             /s/ Adam Kirschner
                                             ADAM D. KIRSCHNER
                                             IL Bar No. 6286601
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                           Senior Trial Counsel
                           United States Department of Justice
                                  Civil Division, Federal Programs Branch
                           1100 L Street NW, Room 11020
                           Washington, DC 20530
                                  Tel.:    (202) 353-9265
                                  Fax:     (202) 616-8460
                           E-mail: adam.kirschner@usdoj.gov

                           Mailing Address:
                           Post Office Box 883
                           Washington, D.C. 20044

                           Courier Address:
                           1100 L Street NW, Room 11020
                           Washington, D.C. 20005

                                  Counsel for Defendants
